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Aomsnt¢v.oulotAppli¢mienrerasemh\ .-.. ' " `

a__l

c _ _ \J
UNI_TED STATES DISTRICT COURT

for the
Northem District of` New York

ln the Matter of the Search of

(Briejiy describe the roperr)' la be searched
ar identify tire per.rag by name and address)

SEE ATTACHMEN.'. A Case No. 3:18-MJ-469 (TWD)

APPLICATION FOR A SEARCH WARRANT

l, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that l have reason to believe that on the following person or property ridenrlj_'v the person ar describe me

properly to be searched and give its iacaiian):
SEE ATTACHM ENT A

located in the Northem District of New York , there is now concealed ridwi£whe

person ar describe lite properly la be seized):
Evidence of transporting. distributing, receiving or possessing child pornography, in violation of Title 18. United States

Code. Sections 2252 and 2252A, as more particularly described in attachment 8

The basis for the search under Fed. R. Crim. P. 4l(c) is (¢~I¢eck one ormare):
d evidence of a crime;
d contraband, fruits ofcrime. or other items illegally possessed;
0 property designed for use. intended for use, or used in committing a crime;
Cl a person to be arrested or a person who is unlawfully restrained

The search is related to a violation ol':

Code Seclian Oj]ense Descripiion
Title 18, United States Code, Transportation, Distribution, Receiving or Possesslon of Chi|d Pomography
Sections 2252 and 2252A

The application is based on these facts:
See attached aiftdavtt.

d Continued on the attached sheet.

CI Delayed notice of ,____ days (give exact ending date if more than 30 days: ) is requested
under 18 U.S.C. § 3 l03a, the basis of which is set forth on the attached sheet.
ATTESTED TO BV THE APPLlCANT lN
ACCORDANCE. WlTH THE REOU|REMENTS OF
RULE 4.| OF THE FEDERAL RULES OF
CRIM|NAL PROCEDURE

.-ip;lican!'s signature

Jenelle Corrine Bringuel, Speclal Agent

Swom to before me and signed in my presence.

Date! 08/1 7/201 8

 

City and stale: Syracuse. New York

 

f'rinied name and title

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ATTACHl\/IENT A
PLACES AND ITEMS TO BE SEARCHED

The places and items to be searched arc (A) 68 Quinn Hill Road, Port Crane, NY 13833, (B) the
persons of Larissa Hiller and lack G. Hillcr ‘Jr., (C) a 2016 GMC Sierra Pick-up truck, blue in color,
VlN# 1 GTVZMEC;SGZ305090, NY Registrati`on: FFP2664, registered to lack G. Hiller Jr, (D) a 2016
Chevrolet .Malibu, four-door-sedan, tan in color, V]N# lGl ICSSASGF129740, NY Registration;
F.TW3219, registered to lack G. Hiller -Jr, (E) a 2012 Chevrolet Equinox, SUV, red in color, V]N#
2GNALDEK7C6247922, NY Registration;. FWJ4647, registered to lack G. Hiller Jr, (F) a 2018 Image
Boat Co. House Trailer, white in color, VlN# 573TE3021J6609509, NY Registration: BP15633,
registered to lack G. Hiller Jr, and (G) any computers, computer equipment or computer storage media
and other electronic or digital media capable of storing or transmitting digital data or digital media that
are located during the course of said searches _ -

The residence at 68 Quinn Hill Road, Port Crane, NY is a one story single family house with blue
siding‘and-white shutters situated on the eastern shoulder of Quinn Hi]l Road. Directly south of the
residence is a detached two car garage with the same blue colored siding and a white side door facing
Quinn Road There is a sidewalk that leads Hom the Western side of the garage to a wooden deck on the
front of the residence On this wooden deck is a white door on the Western side ofthe house facing Quinn
Hill Road_ A driveway runs westward irom the detached garage to Quinn Hill Road At the end of the
driveway there is a' black mailbox with “68” numbered on it in metallic colored numbers. Next to the
mailbox is a blue Ere number sign with “68” numbered in white.

 

 

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ATTACHMENT n
LIsT oF ITEMS To BE sEIZED AND snARc_HEn '

 

Items of evidence in violation of Title 18 USC §§ 2252 and 2252A (transporting, distributing
receiving, or possessing child pornography):

Computers and Electrcnic Media

l. The authorization includes the search of electronic data to include deleted data, remnant data and
slack space. The seizure and search.of computers and electronic media will be conducted in accordance
with the affidavit submitted in support of this warrant

2. Computer hardware, meaning any and all computer equipment including any electronic storing
devices that are capable of collecting, analyzing, creating, displaying converting, storing, concealing, or
transmitting electronic, magnetic, optical, cr similar computer impulses or data lncluded within the
deEmtion of computer hardware is any data processing hardware (such as central processing units and
self-contained laptop or notebook computers); internal and peripheral storage devices (such as thumb
drives, flash drives, sd (secure digital) cards, fixed disks, external hard disks, tloppy disk drives and
diskettes, tape drives and tapes, optical and compact storage devices, and other memory storage devices);
peripheral input/output devices (such as keyboards, printers, scanners, plotters, video display monitors,
and optical readers); related communications devices (such as modems, cables and connections, recording
equipment, RAM and ROM units, acoustic couplers, automatic dialers, speed dialers, programmable
telephone dialing, or signaling devices, and electronic tone generating devices); and any devices,
mechanisms, or parts that can be used to restrict access to such hardware (such as physical keys and
- locks).

3. Computer software, meaning any and all data, information, instructions, programs, or program '
codes, stored in th_e form of electronic, magnetic, optical,' or other media, which is capable of being
interpreted by a computer or its related components Computer software may also include data, data
fragments, or control characters integral to the operation of computer software, such as operating systems,
software, application software, utility pro`grams, compilers, interpreters, communications soitware, and
other programming used or intended to be used to communicate with computer components

4. Computer-related documentation, meaning any written, recorded, printed, or electronically stored
material that explains or illustrates the configuration or use of any seized computer hardware, software, or

related items.

5. _ Computer passwords and data security devices, meaning any devices, programs, or data, whether
themselves in the nature of hardware or software, that can be used or are designed to be used to restrict
access to, or to facilitate concealment ot`, any computer hardware, computer software, computer related
documentation, or electronic data records Such items include, but are not limited to, data security
hardware (such as encryption devices, chips and circuit boards); passwords; data security software or
information (such as test keys and encryption ccdes); and similar information that is required to access
computer programs or data, or to otherwise render programs or data into usable form.

6. Any computer or electronic records, documents and materials referencing or relating to the above
described offenses Such records, documents or materials, as well as their drafts or modifications, may
have been created or stored in various formats, including, but not limited to, any hand-made form (such as
' writing or marking with any implement on any surface, directly or indirectly); any photographic form
(such as microfilm, microHche, prints, slides, negatives, video tapes, motion pictures, or photocopies);

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any mechanical form (such as photographic records, printing cr typing); any electrical, electronic or
magnetic form (such as tape recordings, cassettes, compact disks); cr any information on any electronic or
magnetic storage device (such as thumb `drives, flash drives, sd (secure digital) cards, flcppy diskettes,
hard disks, CD-ROMs, DVDs, optical disks, printer buffers, soft cards, memory calculators, electronic
dialers, or electronic notebooks), as well as printouts cr readouts horn any magnetic storage device.

7. Any electronic information cr data, stored in any form, which has been used or prepared for use
either for periodic cr random backup (whether deliberate, inadvertent or automatically or manually
initiated), or any computer _or computer system The form that such information might take ineludes, but
is not limited tc, thumb drives, flash drives, iloppy diskettes, fixed hard disks, removable hard disk
cartridges, tapes, laser disks, CD-ROM disks, DVDS, video cassettes, and other media capable of storing
‘ magnetic or optical coding. 7

8. Any electronic storage device capable of_ccllecting, storing, maintaining retrieving, concealing,
transmitting, and using electronic data_used to conduct computer or Internet-based ccmmunications, or
which contains material or data, obtained through computer cr Internet-based communications including
data in the form of electronic records, documents and materials, including those used to facilitate
interstate communications,‘ included but not limited to telephone (including mobile telephone) and
Internet Service Prcviders. Included within this paragraph is any information stored in the form cf
electronic, magnetic, cptical, or other ccding, on computer media, cr on media capable of being read by a
computer or computer-related equipment, such as thumb drives, flash drives, sd (secure digital) cards,
fixed disks, external hard disks, removable hard disk cartridges, CDs,_DVDs, tlcppy disk drives and
diskettes, tape drives and tapes, optical storage devices, laser disks, or other memory storage devices.

Ccmputer and Internet Reccrds

9. Records of personal and business activities relating tc the operation and ownership of the
computer systems, such as telephone records, notes (however and wherever written, stored cr
maintained), books, notes, and reference materials _

10. Any records or documents pertaining to accounts held with Internet Service Providers cr of
Internet use, including the use of Kik Messenger, username “Jumpin Jack,” and/or “jumpinj ack72,” and e-
mail waganxisl @yahoc.com. ' '

11. Records cf address or identifying information for the target of the investigation and any personal
or business contacts cr associates of his, (however and wherever written, stored or maintained), including
contact lists, buddy lists, email lists, ICQ addresses, lRC names (ak.a., “Nics”), user lD’s, elD’s
(electrcnic lD numbers) and passwords. ~

12. Docurnents and records, in any.form or fcrmat, regarding the identity cf any person using Kik
Messenger, P2P file sharing software, and the use of any other methods of receiving, transporting cr
distributing images of children engaged in sexually explicit conduct

13. Docurnents and records regarding the ownership and/or possession cfthe searched premises

14. Computer records and evidence identifying who the particular user was who received,
dcwnloaded, pcssessed, or accessed with intent to view any child pornography found on any computer or
computer media (_evi'dence of attribution), cr who attempted to dc any cf the fcregoing, and how. the
computer was used to effectuate that activity. '

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Materials Relating to Child Erotica and Depictions of Minors

k 15 . Any and all visual-depictions of minors, including but not limited to, sexually explicit images of
minors. `

16. Any and all chats, chat logs, emails, and other text documents, describing cr relating to sexually
explicit conduct with children, as well as fantasy writings regarding, describing, or showing a sexual
interest in children

li. Any and all address books, names, and lists of names and addresses cf minors visually depicted
while engaged in sexually explicit conduct, as deEned in Title 18 United States Code, Section 2256(2).

18. Any and all notebooks and any other records reflecting personal ecntact, and any other activities,
with minors who may be visually depicted while engaged in sexually explicit conduct, or engaged in
sexually explicit chat, email, or other communications

19. Any and all child eman including photographs of children that are not sexually explicit,
drawings, sketches, fantasy writings, notes, and sexual aids. '

t

Phctoggphs of Search

20. During the course cf the search, photographs of the searched premises and vehicles may also be
taken to record the condition thereof and/or the location cf items therein.'

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UNITED srATEs msch coURT
NoRTHF.RN DISTRICT on NEW YoRK

 

IN THE MATTER OF AN APPLICATION
OF THE UNITED STATES OF AMERICA
FOR SEARCH WARRANTS FOR:

[SEE ATTACHN[ENT A-B, HEREIN]

 

AFFIDAVIT IN SUPPORT OF APPLICATION FOR SEARCH WARRANT
IENELLE CORRINE BRINGUEL, being duly sworn, deposes and states:
INTRODUCTION

l. I am a Special Agent of the United States Department of lustice, Federal Bureau of
Investigation (“FBI”), and I am empowered by law to investigate and make arrests for offenses
enumerated in Title 18, United States Code, Section 2516. As such, I am an “investigative or law
enforcement officer” within the meaning of Title 18, United States Code, Section 2510(7).

2. I have been employed as a Special Agent of the FBI since June of 2012 and am currently
assigned to the Albany Division, Binghamton Resident Agency. While employed by the FBI, I have
investigated federal criminal violations related to cybercrime, child exploitation, and child pornography I
have gained experience through training by the FBI and everyday work relating to conducting these types
of investigations I have participated in the execution of several federal search warrants in child sexual
exploitation investigations

7 3. lam investigating the activities of the IP addresses 50.108.196.118, 172.79.144.241, and
50.108.194.14 all subscribed to by Larissa Hiller, who resides at 68 Quinn Hill Road, Port Crane, NY
13833 (the Subj ect Premises, as more fully described in Attachrnent A). As will be shown below, there is
probable cause to believe that someone using the IP addresses registered to Larissa Hiller at the Subject

Premises, has transported, received, possessed, or distributed child pornography, in violation of 18 U.S.C.

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§§ 2252 and 2252A, and I submit this application and affidavit in support of search warrants authorizing a
search of (A) 68 Quinn Hill Road, Port Crane, NY 13833, (B) the persons of Larissa Hiller and lack G.
Hiller Jr, (C) a 2016 GMC Sierra Pick-up truck, blue in color, VIN# 1GTV2MEC5GZ305090, NY
Registration: FFP2664, registered to lack G. Hiller Jr, (D) a 2016 Chevrolet Malibu, four-door-sedan, tan
in color, VIN# lGl lCSSASGF129740, NY Registration: FJW3219, registered to lack G. Hiller Jr, (E) a
2012 Chevrolet Equinox, SUV, red in color, V]N# ZGNALDEK7C6247922, NY Registration: FWI4647,
registered to Jack G. Hiller Jr, (F) a 2018 lmagc Boat Co. House Trailer, white in color, VIN#
573TE3021.16609509, NY Registration: BP15633, registered to Jack G. Hiller Jr, and (G) any computers,
computer equipment or computer storage media and other electronic or digital media capable of storing or
transmitting digital data or digital media that are located during the course of said searches. Located
within the places and items to be searched, I seek to seize evidence, fruits, and instrumentalities of
criminal violations relating to the knowing transportation, shipment, receipt, possession, and distribution,
of child pornography, as more particularly described in Attachment B.

4. As will be demonstrated in this affidavit, made under Fed. R. Crim. P. Rule 41, there is
probable cause to believe that evidence will be located at the Subject Premises, on the persons of Larissa
Hiller and lack G. Hiller Jr, in the vehicles registered to lack G. Hiller Jr, and within computers,
computer equipment and/or other electronic media relating to violations of Title 18, United States Code
2252 and 2252A (transporting, distributing, receiving, or possessing child pomography), hereafter
referred to as the Subject Offenses.

5. The statements and facts set forth in this affidavit are based in significant part on: my
review of written documents obtained from the FBI Albany Child Exploitation Task Force, my review of
written documents obtained from the FBI Washington Field Office Child Exploitation and Human
Trafiicking Task Force, conversations and review of documents obtained by Mid-State Child Exploitation
Task Force Officer and NYSP lnvestigator Joshua Kresge, and my personal training and experiences
Since this Affidavit is being submitted for the limited purposes of securing a search warrant, l have not
included each and every fact known to me concerning this investigation I have set forth only the facts

2

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and circumstances that I believe are necessary to establish probable cause to believe evidence, &uits, and
instrumentalities of violations of Title 18, United States Code, Sections 2252 and 2252A are presently

located within the places and items to be searched.

BACKGROUND ON ELECTRONIC DEVICES AND CHILD PORNOGRAPHY

 

6. Based on my knowledge, training, and experience, and the experience and training of
other law enforcement agents and investigators With whom I have had discussions, your Affiant knows
that electronic devices, including computers and cellular telephones, serve different roles or functions
with child pornography: production, communication, distribution, and storage.

7. Chjld pornographers can transpose photographic images from a camera into a computer-
readable format with a scanner. With digital cameras, the images can be transferred directly onto a
computer. A modern allows any computer to connect to another computer through the use of telephone,
cable, or wireless connection Through the Intemet, electronic contact can be made to literally millions of

computers around the world.

8. The computer’s ability to store images in digital form makes the computer itself an ideal
repository for child pornography. The size of the electronic storage media (commonly referred to as the
hard drive) used in home computers has grown tremendously within recent years. These drives can store

thousands of images at very high resolution.

9. The Internet affords collectors of child pornography several different venues for

obtaining, viewing and trading child pornography in a relatively secure and anonymous fashion.

10. Collectors and distributors of child pornography also use online resources to retrieve and
store child pornography, including services offered by Internet Portals such as Yahoo! and Google,
among others. The online services allow a user to set up an account with a remote computing service that

provides e-mail services as well as electronic storage of computer files in any variety of formats. A user

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can set up an online storage account from any computer with access to` the Internet. Evidence of such
online storage of child pornography is often found on the user’s computer. Even in cases where online
storage is used, however, evidence of child pornography can be found on the user’s computer in most
cases.

ll. As with most digital technology, communications made from a computer are often saved
or stored on that computer. Storing this information can be intentional, for example, by saving an e-mail
as a file on the computer or saving the location of one’s favorite websites in “bookmarked” files. Digital
information can also be retained unintentionally. Traces of the path of an electronic communication may
be automatically stored in many places, such as temporary files or ISP client software, among others. In
addition to electronic communications, a computer user’s Internet activities generally leave traces in a
computer’s web cache and lntemet history files. A forensic examiner often can recover evidence that
shows whether a computer contains peer-to-peer software, when the computer was sharing frles, and some
of the files that were uploaded or downloaded. Such information is often maintained indefinitely until
overwritten by other data.

COLLECTORS OF CHILD PORNOGRAPHY

 

12. lndividuals who are interested in child pornography may want to keep the child
pornography files they receive for use in the iiiture. Individuals who collect child pornography may go to
great lengths to conceal and protect from discovery their collections of illicit materials They often
maintain their collections in the privacy and security of their homes or other secure location. Additionally,
individuals who utilize social media are known to keep their electronic media with them, including at
their homes.

13. Individuals who collect child pornography may seek out like-minded individuals, either
in person or on the Internet, to share information a`nd trade depictions of child pornography and child
erotica as a means of gaining status, trust, acceptance and support This contact also may help these
individuals to rationalize and validate their deviant sexual interest and associated behavior. The different
Intemet-based vehicles used by such individuals to communicate with each other include, but are not

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limited to, mail, email groups, bulletin boards, IRC, newsgroups, instant messaging, Peer to peer
prograrns, and other similar vehicles. '

14. Individuals who collect child pornography may maintain stories, books, magazines,
newspapers and other writings, in hard copy or digital medium, on the subject of sexual activities with
children, as a way of understanding their own feelings toward children, justifying those feelings and
finding comfort for their illicit behavior and desires. Such individuals may keep these materials because
of the psychological support they provide.

15. 4 Individuals who collect child pornography may keep names, e-mail addresses, phone
numbers or lists of persons who have shared, advertised or otherwise made known their interest in child
pornography or sexual activity with children. These contacts may be maintained as a means of personal
referral, exchange or commercial prolit. This information may be maintained in the original medium
from which it was derived, in lists, telephone or address, on computer storage devices, or merely on
paper.

BACKGROUND OF THE INVESTIGATION

 

16. On February 20, 2018 the FBI Washington Field Offrce (WFO) was alerted by the FBI
Detroit Division that a subject, M.M., while using the “Kik” app under the usemame of
“MGMFREEDOM,” exchanged child pornography images with multiple Kik app users, to include a
subject, B.K., of Marysville, Michigan. On February 21, 2018, M.M. was interviewed by FBI WFO and
admitted to taking pornographic images of his 8-year-old step-daughter and sending them to other users
on the Kik app. Forensic analysis of M.M’s devices determined that M.M. exchanged child pornography
images and/or videos with Kik user, “jumpinjack72,” from January 27, 2018 to February 26, 2018.

17. On May 22, 2018, TFO Kresge viewed the Kik chats and images exchanged between
“mgmfreedom” and “jumpinjack72.” Conversations between “mgmfreedom” and “jumpinjack72” start

on February 2, 2018, in which “jumpinjack72” states that he lost stuff and “mgmfreedom” asks him what

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he likes. The Kik user “jumpinjack72” advises that he likes teens, bi, and bbwl as well as young A

review of the Kik messages between “mgmfreedom” and “jumpinjack72” showed “mgmfreedom”

distributed numerous images of child pornography to “jumpinjack72" including three images of nude

females between the ages of 5 and 10 years old who were tied up and bound by the hands and feet, three

of which are described as follows:

18.

a. On February 2, 2018 at 9:59 PM, “mgmfreedom” sent “jumpinjack72” a file named
“4c39a62a~d689~4e8 l-adOS-ffl fdbObfeSa” which contains a teen female orally licking
the naked genitals of a pre-pubescent female approximately 6-10 years in age.

b. On February 3, 2018 at 9: 17 AM, “mgmii'eedom” sent “jumpinjack72” a tile named
“d906e9a5-3a4b-408e-ab10-99ffa7ec795l.jpg” which depicts an adult male standing and
having vaginal sexual intercourse with nude female approximately 6-10 years in age who
is laying on her back.

c. On February 3, 2018 at 9:31 AM, “mgmfreedom” sent “jumpinjack72” a file named
“ddlc9eec-37b9-4c6a-8a6a-e528babea8e3 .jpg” which depictsa nude male
approximately 6-10 years old kneeling in front of a standing adult male and the adult
male’s penis in the 6-10 year old male’s mouth.

The Kik user “jumpinjack72” is associated with e-mail address of

wagpfoxis@yahoo.com, a mobile telephone number of 607-760-9160, and several login IP addresses:

50.108.196.118, 172.79.144.241, and 50.108.194.14, which are associated with lack and Larissa Hiller of

68 Quinn Hill Road, Port Crane, N'Y 13833:

a. On February 26, 2018, an administrative subpoena was issued to and served on Kik
requesting subscriber identification information and IP access logs associated with the
“jumpinjack72” account. Kik responded to the subpoena and provided a display name of
“Jumpin Jack”, and an e-mail of wagnfoxisl@yahoo.com for the username

“jumpinjack72.” Kik also provided lP logs from January 27, 2018 to February 26, 2018,

 

l “Bi” refers to “bisexual” and “bbw” refers to “big beautiful women.”

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that showed several Frontier Communications IP addresses (50.108.196.118,
172.79.144.241, and 50.108.194.14) regularly being used to access the “jumpinjack72”
account during this time period.
b. On February 26, 2018, an administrative subpoena was issued to and served on
Frontier Communications requesting the subscriber name, address of service, and billing
information associated with lP addresses 50.108.196.118 on 01/27/18 at 14:45:13 UTC
and 172.79.144.241 on 01/29/ 18 at 17:24:53 UTC, which were the first times those IP
addresses appeared in the administrative subpoena results received from Kik, and
50.108.194.14 on 02/26/18 at 09:26:53 UTC, which was the most recent login to the Kik
account at the time the information was received by your Afiiant from FBI WFO.
Frontier responded that on those dates and times each of the IP addresses were assigned
to the account at 68 Quinn Hill Road, Port Crane, NY 13833, under the customer name
Larissa Hiller, with an associated e-mail address of jacniisl992@frontier.com. Service
to that subscriber at that location was activated on 11/09/2009.
c. An administrative subpoena was issued to and served on Yahoo! Requesting
subscriber identification information for the e-mail address of wagnfoxisl@yahoo.com.
Yahool responded with a subscriber name of Jack Ris, created on 04/28/2015, with a
telephone number of 607-760-9160.
d. An administrative subpoena was issued to and served on Verizon Wireless
requesting subscriber identification information for the mobile telephone number of
607-760-9160. Verizon Wireless responded with a subscriber name of lack and Larissa
Hiller, an address of 68 Quinn Hill Road, Port Crane, NY 13833, and an e-mail address
ofjacnrisl992@frontier.com.
19. On May 8, 2018, TFO Kresge conducted physical surveillance of 68 Quinn Hill Road,
Port Crane, NY and secured a photograph of the residence. This photograph of 68 Quinn Hill Road, Port

Crane, NY is contained in Attachment A.

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20. The residence at 68 Quinn Hill Road, Port Crane, NY is a one story single family house
with blue siding and white shutters situated on the eastern shoulder of Quinn Hill Road. Directly south of
the residence is a detached two-car garage with the same blue colored siding and a white side door facing
Quinn Road. There is a sidewalk that leads from the western side of the garage to a wooden deck on the
front of the residence On this wooden deck is a white door on the western side of the house facing Quinn
Hill Road. A driveway runs westward from the detached garage to Quinn Hill Road. At the end of the
driveway there is a black mailbox with “68” numbered on it in metallic colored numbers. Next to the
mailbox is a blue fire number sign with “68” numbered in white.

21. On May 9, 2018, TFO Kresge conducted New York State DMV registration checks for
lack G. Hiller Jr. and Larissa A. Hiller of 68 Quinn Hill Road, Port Crane, NY 13833. The following
vehicles, all of which have been observed at the residence during physical surveillance, are currently
registered to lack G. Hiller Jr at the Subject Premises:

a. A 2018 Image Boat Co. House Trailer, white in color, VIN# 573TE3021]6609509, NY

Registration: BP15633

b. A 2016 GMC Sierra Pick-up truck, blue in color, VIN# lG'l`V2MEC5G2305090, NY

Registration: FFP2664

c. A 2016 Chevrolet Malibu, four-door-sedan, tan in color, VlN# 1GllC5$A5GFl29740, NY

Registration: FJW3219

d. A 2012 Chevrolet Equinox, SUV, red in color, VIN# 2GNALDEK7C6247922, NY

Registration: FWJ4647

22. On 8/8/2018, just prior to 6 a.m., TFO Kresge observed lack G. Hiller Jr, driving the
2012 Chevrolet Equinox, SUV, registered to him at the Subject Premises, driving down Bally Hack Road,
Port Crane, NY toward New York State Route 369. TFO Kresge followed Hiller to a New York State
Department of Transportation (DOT) facility a short distance from his residence. TFO Kresge observed
Hiller park his vehicle, exit the vehicle, and enter the DOT facility at approximately 6;02 a.m Prior to

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this date, TFO Kresge conducted NY State Police database searches and observed that Hiller was
employed by New York DOT. On that same date, TFO Kresge observed Jack G. Hiller Jr. departing the
.DOT facility at 2;33 p.m. Hiller returned to the Subj ect Premises at approximately 2:38 p.m. in the 2012
Chevrolet Equinox, SUV, which he parked in the garage of the Subject Premises. As yourAffiant
believes Jack G. Hiller Jr, departs the residence for work several minutes prior to 6:00 a.m., your Affiant
intends to execute the warrant prior to 6:00 a.m., but not prior to 5:00 a.nr, because it is believed Hiller
will be awake at that time. As the requested search warrant includes a search of Hiller’s person as well as
all vehicles registered to him, it is important to execute the search warrant while Hiller is present at the
house because if Hiller learns that a search is ongoing at the residence while he is not there he might
destroy any evidence on his person or in the vehicle he takes to work

23. On 8/9/2018, the United States Postal Inspection Service provided that the following
individuals receive mail at the Subject Premises: lack Hiller Sr., lack Hiller Jr., Larissa Hiller, and

Ashley Hiller,

COMPUTERS, ELECTRONIC STORAGEa AND FORENSIC ANALYSIS

24. Your Affiant has spoken with law enforcementpersonnel trained in computer evidence
recovery who have knowledge about the operation of computer systems and the correct procedures for the
seizure and analysis of computer systems.

25. These individuals have participated in the execution of numerous search warrants during
which'they have seized and/or examined computer systems These individuals have also participated in
several warrants that involved the search and/or seizure of, and has been responsible for analyzing, seized
electronic data and records from those systems.

26. Based on my experience and training, plus the common sense knowledge that in today's
technological world, computers and computer related media are used for communication and storage of
data and information As such, it is reasonable to believe that some or all of the records sought to be

seized will be in electronic/digital format.

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27. Furthermore, based upon my training, experience, and consultations with law
enforcement personnel who specialize in searching computer systems, your Affiant has learned that
searching and seizing information from computer systems and other storage media (including PDAs, cell
phones, MP3 Players, etc.) often requires agents to seize most or all the computer system or storage media
to be searched later by a qualified computer forensic examiner in a laboratory or other controlled
environment This is true for the reasons set out below.

28. The volume of data stored on many computer systems and storage devices will typically
be so large that it will be highly impractical to search for data during the execution of the physical search
of the premises The hard drives commonly included in mere desktop computers are capable of storing
millions of pages of text; the storage capacity of other electronic devices (e.g. a micro drive, a thumb
drive, etc.) can also be significant Unlike the search of documentary files, computers store data in "files"
that cannot easily be reviewed For instance, a single 1 gigabyte of storage media is the electronic
equivalent of approximately 500,000 pages of double spaced text. Most computer and electronic devices
have capacities well in excess of a single gigabyte.

29. The search through the computer (or other electronic media) itself is a time consuming
process. Software and individual files can be “password protected.” Files can be placed in hidden
directories; files can be mislabeled or be labeled with names that are misleading Similarly, files that
contain innocent appearing names (“Smith.ltr”) can in fact be electronic commands to electronically cause
the data to self-destruct. Also, files can be “deleted,” but, unlike documents that are destroyed, the
information and data from "deleted" electronic files usually remains on the storage device until it is “over
written” by the computer. For example, the computer’s hard drive stores information in a series of
“sectors,” each of which contains a limited number of electronic bytes usually 512. These sectors are
generally grouped to form clusters. There are thousands or millions of such clusters on a hard drive. A
file's clusters might be scattered throughout the drive (for example, part of a memo could be at Cluster
163, while the next part of the memo might be stored at Cluster 2053). For a non-deleted file, there are
“pointers” that guide the computer in piecing the clusters together. For a file that has been deleted, the

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“pointers” have been removed. Therefore, the forensic examination would include the piecing together of
the associated clusters that made up the “deleted” frle. Being aware of these pitfalls, the
investigator/analyst must follow a potentially time-consuming procedure to review the contents of the
computer storage device so as to insure the integrity of the data and/or evidence. A single computer and
related equipment could take many days to analyze properly.

30. Computer storage media are used to save copies of files and communications, and
printers are used to make paper copies of these communications and files. Applications and associated
data stored on the storage media are the means by which the computer can send, print and save such
activity. Finally, password protected data and other security devices are often used to restrict access to or
hide computer software, documentation or data. All these parts of a computer are integrated into the
entire operation of a computer. In order to evaluate the evidence most effectively, the computers and all
of the related computer equipment described above should be available to a computer investigator/analyst

31. Therefore, based upon my knowledge, training, and experience, as well as information
related to me by Special Agents and others involved in forensic examination of computers, your Affiant is
aware that searches for and seizures of evidence li'om computers commonly require Agents to seize most
or all of a computer system’s input/output and peripheral devices (including other storage media), in order
for a qualified computer expert to accurately retrieve the system’s data in a laboratory or other controlled
environment In order to fully retrieve data from a computer system, investigators must seize all the
storage devices, as well as the central processing units (CPUs), and applicable keyboards and monitors
which are an integral part of the processing unit.

32. Furthermore, searching computer systems is a highly technical process which requires
specific expertise and specialized equipment There~are so many types of computer hardware and
software in use today that it is rarely possible to bring to the search site all of the necessary technical
manuals and specialized equipment necessary to conduct a thorough search. In addition, it may also be
necessary to consult with computer personnel who have specific expertise in the type of computer,

software application or operating system that is being searched.

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33. The best practices for analysis of computer systems and storage media rely on rigorous
procedures designed to maintain the integrity of the evidence and to recover hidden, mislabeled,
deceptively named, erased, compressed, encrypted, or password protected data while reducing the
likelihood of inadvertent or intentional loss or modification of data. A controlled environment, such as a
law enforcement laboratory, is typically required to conduct such an analysis properly.

34. Furthermore, because there is probable cause to believe that the computer and its storage
devices are all instrumentalities of crimes, within the meaning of 18 U.S.C. §§ 2251 through 2256, they
should all be seized as such.

35. Based upon my training and experience and conversations with other law enforcement
personnel, your Affiant is aware that a number of computer storage devices are quite small and portable,
and can be easily hidden on a person. For instance, digital cameras can store numerous digital images on
a disk approximately the size of a postage stamp. In addition, thumb drives, which are approximately the
size of a pocket knife, can hold numerous images and computer videos. Your Affiant also l<nows, from
my training and experience, that these devices are often stored in vehicles to prevent other users in the
home from discovering the existence of the child pornography collection. Your Afiiant, therefore, also
requests permission to search the persons of Larissa Hiller and lack G. Hiller Jr., and the vehicles

registered to lack Hiller, for such evidence.

SEARCH METHODOLOGY TO BE EMPLOYED
36. The search procedure of electronic data contained in computer hardware, computer
software, and/or memory storage devices may include the following techniques (the following is a non-
exclusive list, as other search procedures may be used):
a) on-site triage of computer systems to determine what, if any, peripheral devices
or digital storage units have been connected to such computer systems, as well as a preliminary
scan of image files contained on such systems and digital storage devices to help identify any

other relevant evidence or potential victims;

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b) examination of all of the data contained in such computer hardware, computer
software, or memory storage devices to view the data and determine whether that data falls within
the items to be seized as set forth herein;

c) searching for and attempting to recover any deleted, hidden, or encrypted data to
determine whether that data falls within the list of items to be seized as set forth herein (any data
that is encrypted and unreadable will not be returned unless law enforcement personnel have
determined that the data is not (l) an instrumentality of the offenses, (2) a fruit of the criminal

activity, (3) contraband, (4) otherwise unlawfully possessed, or (5) evidence of the offenses

specified above);
d) surveying various file directories and the individual files they contain;
e) opening files in order to determine their contents;
f) scanning storage areas;
g) performing key word searches through all electronic storage areas to determine

whether occurrences of language contained in such storage areas exist that are likely to appear in
the evidence described in Attachment B; and
h) performing any other data analysis technique that may be necessary to locate and
retrieve the evidence described in Attachment B.
CONCLUSION

37. Based on the aforementioned factual information, your affiant respectftu submits that
there is probable cause to believe that someone using IP addresses of 50.108.196.118, 172.79.144.241,
and 50.108.194.14 at a time each were assigned to the account subscribed to by Larissa and lack G. Hiller
Jr, at the Subject Premises, is involved in the transportation, distribution, receipt, and possession of child
pomography, in violation of 18 U.S.C. §§ 2252 and 2252A. Additionally, there is probable cause to
believe that evidence of criminal offenses, namely, violations of 18 U.S.C. §§ 2252 and 2252A, is located

in the Subj ect Premises, on the persons of Larissa Hiller and lack G. Hiller Jr, in the vehicles registered to

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lack G. Hiller Jr, and within computers, computer equipment and/or other electronic media located
therein or within the Subject Kik Account.

38. Your Affiant, therefore, respectfully requests that the attached warrant be issued
authorizing the search of (A) 68 Quinn Hill Road, Port Crane, NY 13833, (B) the persons of Larissa
Hiller and lack G. Hiller Jr., (C) a 2016 GMC Sierra Pick-up truck, blue in color, VIN#
16TV2MEC502305090, NY Registration: FFP2664, registered to lack G. Hiller Jr, (D) a 2016
Chevrolet Malibu, four-door-sedan, tan in color, VIN# lGl 1C5SASGF129740, NY Registration:
FJW3219, registered to lack G. Hiller Jr, (E) a 2012 Chevrolet Equinox, SUV, red in color, VIN#
26NALDEI<7C6247922, NY Registration: FWJ4647, registered to .lack G. Hiller Jr, (F) a 2018 Image
Boat Co. House Trailer, white in color, VIN# 573TE3021.|6609509, NY Registration: BP15633,
registered to lack G. Hiller Jr, and (G) any computers, computer equipment or computer storage media
and other electronic or digital media capable of storing or transmitting digital data or digital media that
are located during the course of said searches.

ATTESTED TO BY THE APPLICANT lN ACCORDANCE WITH THE REQUIREMEN'I`S OF RULE

4.1 OF THE FEDERAL RULES OF CRlMINAL PROCEDURE.

 

nelle Bringuel
Special Agent
Federal Bureau of lnvestigation

 

NORTHERN DlSTRlCT OF NEW YORK

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ATTACHMENT A
PLACES AND ITEMS TO BE SEARCHED

The places and items to be searched are (A) 68 Quinn Hill Road, Port Crane, NY 13833, (B) the
persons of Larissa Hiller and lack G. Hiller Jr., (C) a 2016 GMC Sierra Pick-up truck, blue in color,
Vl`_N# 1GTV2MEC5GZ305090, NY Registration: FFP2664, registered to lack G. Hiller Jr, (D) a 2016
Chevrolet Malibu, four-door-sedan, tan in color, V]N# 1G11C5SA5GF129740, NY Registration:
FJW3219, registered to lack G. Hiller Jr, (E) a 2012 Chevrolet Equinox, SUV, red in color, VIN#
2GNALDEK7C6247922, NY Registration: FWJ4647, registered to lack G. Hiller Jr, (F) a 2018 Image
Boat Co. House Trailer, white in color, VlN# 573TE3021]6609509, NY Registration: BP15633,
registered to lack G. Hiller Jr, and (G) any computers, computer equipment or computer storage media
and other electronic or digital media capable of storing or transmitting digital data or digital media that
are located during the course of said searches

The residence at 68 Quinn Hill Road, Port Crane, NY is a one story single family house with blue
siding and white shutters situated on the eastern shoulder of Quinn Hill Road. Directly south of the
residence is a detached two car garage with the same blue colored siding and a white side door facing
Quinn Road. There is a sidewalk that leads from the western side of the garage to a wooden deck on the
front of the residence On this wooden deck is a white door on the western side of the house facing Quinn
Hill Road. A driveway runs westward from the detached garage to Quinn Hill Road. At the end of the
driveway there is a black mailbox with “68” numbered on it in metallic colored numbers. Next to the
mailbox is a blue fire number sign with “68” numbered in white.

 

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ATTACHMENT B
LIST OF ITEMS TO BE SEIZED AND SEARCHED

 

Items of evidence in violation of Title 18 USC §§ 2252 and 2252A (transporting, distributing,
receiving, or possessing child pomography):

Computers and Electronic Media

l. The authorization includes the search of electronic data to include deleted data, remnant data and
slack space. The seizure and search of computers and electronic media will be conducted in accordance
with the affidavit submitted in support of this warrant

2. Computer hardware, meaning any and all computer equipment, including any electronic storing
devices that are capable of collecting, analyzing, creating, displaying, converting, storing, concealing, or
transmitting electronic, magnetic, optical, or similar computer impulses or data, Included within the
definition of computer hardware is any data processing hardware (such as central processing units and
self-contained laptop or notebook computers); internal and peripheral storage devices (such as thumb
drives, flash drives, sd (secure digital) cards, erd disks, external hard disks, floppy disk drives and
diskettes, tape drives and tapes, optical and compact storage devices, and other memory storage devices);
peripheral input/output devices (such as keyboards, printers, scanners, plotters, video display monitors,
and optical readers); related communications devices (such as modems, cables and connections, recording
equipment, RAM and ROM units, acoustic couplers, automatic dialers, speed dialers, programmable
telephone dialing, or signaling devices, and electronic tone generating devices); and any devices,
mechanisms, or parts that can be used to restrict access to such hardware (such as physical keys and
locks).

3. Computer software, meaning any and all data, information, insu'uctions, programs, or program
codes, stored in the form of electronic, magnetic, optical, or other media, which is capable of being
interpreted by a computer or its related components Computer software may also include data, data
fragments, or control characters integral to the operation of computer software, such as operating systems,
software, application software, utility programs, compilers, interpreters, communications software, and
other programming used or intended to be used to communicate with computer components

4. Computer-related documentation, meaning any written, recorded, printed, or electronically stored
material that explains or illustrates the configuration or use of any seized computer hardware, software, or
related items.

5. Computer passwords and data security devices, meaning any devices, programs, or data, whether
themselves in the nature of hardware or software, that can be used or are designed to be used to restrict
access to, or to facilitate concealment of, any computer hardware, computer software, computer related
documentation, or electronic data records. Such items include, but are not limited to, data security
hardware (such as encryption devices, chips and circuit boards); passwords; data security software or
information (such as test keys and encryption codes); and similar information that is required to access
computer programs or data, or to otherwise render programs or data into usable form.

6. Any computer or electronic records, documents and materials referencing or relating to the above
described offenses. Such records, documents or materials, as well as their drafts or modifications, may
have been created or stored in various formats, including, but not limited to, any hand-made form (such as
writing or marking with any implement on any surface, directly or indirectly); any photographic form
(such as microHlm, microfiche, prints, slides, negatives, video tapes, motion pictures, or photocopies);

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any mechanical form (such as photographic records, printing or typing); any electrical, electronic or
magnetic form (such as tape recordings, cassettes, compact disks); or any information on any electronic or
magnetic storage device (such as thumb drives, flash drives, sd (secure digital) cards, floppy diskettes,
hard disks, CD-ROMs, DVDs, optical disks, printer buffers, soft cards, memory calculators, electronic
dialers, or electronic notebooks), as well as printouts or readouts from any magnetic storage device.

7. Any electronic information or data, stored in any form, which has been used or prepared for use
either for periodic or random backup (whether deliberate, inadvertent, or automatically or manually
initiated), or any computer or computer system The form that such information might take includes, but
is not limited to, thumb drives, flash drives, floppy diskettes, fixed hard disks, removable hard disk
cartridges, tapes, laser disks, CD-ROM disks, DVDs, video cassettes, and other media capable of storing
magnetic or optical coding.

8. Any electronic storage device capable of collecting, storing, maintaining, retrieving, concealing,
transmitting, and using electronic data used to conduct computer or lntemet-based communications or
which contains material or data, obtained through computer or lntemet-based communications including
data in the form of electronic records, documents and materials including those used to facilitate
interstate communications included but not limited to telephone (including mobile telephone) and
lntemet Service Providers. lucluded within this paragraph is any information stored in the form of
electronic, magnetic, optical, or other coding, on computer media, or on media capable of being read by a
computer or computer-related equipment, such as thumb drives, flash drives, sd (secure digital) cards,
fixed disks, external hard disks, removable hard disk cartridges, CDs,_DVDs, floppy disk drives and
diskettes, tape drives and tapes, optical storage devices, laser disks, or other memory storage devices

Computer and Internet Records

9. Records of personal and business activities relating to the operation and ownership of the
computer systems, such as telephone records, notes (however and wherever written, stored or
maintained), books, notes, and reference materials

10. Any records or documents pertaining to accounts held with lntemet Service Providers or of
lntemet use, including the use of Kik Messenger, username “Jumpin Jack,” and/or “jumpinjack72,” and e-
mail wagnfoxis l @yahoo.com.

ll. Records of address or identifying information for the target of the investigation and any personal
or business contacts or associates of his, (however and wherever written, stored or maintained), including
contact lists, buddy lists, email lists, ICQ addresses IRC names (a.ka., “Nics”), user lD’s, e]D’s
(electronic ID numbers) and passwords

12. Documents and records, in any form or format, regarding the identity of any person using Kik
Messenger, P2P file sharing software, and the use of any other methods of receiving, transporting, or
distributing images of children engaged in sexually explicit conduct

13. Documents and records regarding the ownership and/or possession of the searched premises
14. Computer records and evidence identifying who the particular user was who received,
downloaded, possessed, or accessed with intent to view any child pornography found on any computer or

computer media (evidence of attribution), or who attempted to do any of the foregoing, and how the
computer was used to effectuate that activity.

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Materials Relating to Child Erotica and Depictions of Minors

15 . Any and all visual depictions of minors, including, but not limited to, sexually explicit images of
minors. '

16. Any and all chats, chat logs, emails, and other text documents describing or relating to sexually
explicit conduct with children, as well as fantasy writings regarding, describing, or showing a sexual
interest in children,

17. Any and all address books, names, and lists of names and addresses of minors visually depicted
while engaged in sexually explicit conduct, as defined in Title 18 United States Code, Section 2256(2).

18, Any and all notebooks and any other records reflecting personal contact, and any other activities,
with minors who may be visually depicted while engaged in sexually explicit conduct, or engaged in
sexually explicit chat, email, or other communications

19. Any and all child erotica, including photographs of children that are not sexually explicit,
drawings, sketches, fantasy writings, notes, and sexual aids

Photographs of Search

20. During the course of the search, photographs of the searched premises and vehicles may also be
taken to record the condition thereof and/or the location of items therein.

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